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                        IN THE UNITED STATES DISTRICT COURT
 8                          FOR THE DISTRICT OF ARIZONA
 9   Paul A. Isaacson, M.D., on behalf of
     himself and his patients, et al.,
10                                                Case No. 2:21-CV-01417-DLR
                           Plaintiffs,
11                                                INDEX OF EXHIBITS IN SUPPORT
12          v.                                    OF PLAINTIFFS’ SUPPLEMENTAL
                                                  BRIEF PURSUANT TO COURT’S
13   Mark Brnovich, Attorney General of           ORDER (DOC. 130)
     Arizona, in his official capacity; et al.,
14
                           Defendants.
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     Case 2:21-cv-01417-DLR Document 131-1 Filed 09/30/22 Page 2 of 2



 1                               INDEX OF EXHIBITS
 2
 3       Exhibit
                                            Description
 4        No.

 5
                   Order, Planned Parenthood Ctr. of Tucson, Inc., et al. v.
            1
 6                 Brnovich et al., No. C127867 (Ariz. Super. Ct. Sept. 23, 2022)
 7
                   Planned Parenthood’s Emergency Mot. For Stay of Order
 8                 Pending Appeal, Planned Parenthood Ctr. of Tucson, Inc., et
            2
 9                 al. v. Brnovich et al., No. C127867 (Ariz. Super. Ct. Sept. 26,
                   2022)
10
11                 Order, Planned Parenthood Ctr. of Tucson, Inc., et al. v.
            3
12                 Brnovich et al., No. C127867 (Ariz. Super. Ct. Sept. 26, 2022)

13
                   Planned Parenthood’s Resp. to Defs.’ Rule 60(b) Mot. for
14          4      Relief from J., Planned Parenthood Ctr. of Tucson, Inc., et al.
                   v. Brnovich et al., No. C127867 (Ariz. Super. Ct. July 20, 2022)
15
16
                   Attorney General’s Mot. for Relief from J., Planned
17          5      Parenthood Ctr. of Tucson, Inc., et al v. Brnovich et al., No.
                   C127867 (Ariz. Super. Ct. July 13, 2022).
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